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IN THE UNITED sTATES DISTRICT coURT F"-ED 3`*“ %.. l3.¢';.
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsION

 

 

ARTURO AGUIRRE CRUZ, et al.,
Plaintiffs,
vs. Civ. No. 04-2389-M1[P

FORD MOTOR COMPANY, INC.,

Defendant.

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ORDER RESCINDING MAY 16, 2005 ORDER GRANTING
PLAINTIFF'S MOTION TO COMPEL

 

On May 16, 2005, this court entered an order granting
plaintiff's motion to compel discovery. The motion to compel was
granted on the basis that defendant did not file its response
within the time required by the local rules. On May 23, 2005, the
defendant sent a letter to the court stating that it had timely
filed a response, but that the Clerk's office did not accept the
response for filing because the defendant did not include
sufficient copies. Defendant subsequently filed its response,
which was docketed. on. May' 16. On May 23, the court held a
telephonic conference call with counsel of record. For good cause
shown, and plaintiff having no opposition thereto, the court hereby

rescinds its May 16 order granting plaintiff's motion to compel.

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The parties are directed to meet and confer regarding the
discovery disputes and jointly submit a letter to the court by June

3, 2005, setting forth what, if any, disputes remain at issue.

J_,r/\/ rt
TU M. PHAM
United States Magistrate Judge

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IT lS SO ORDERED.

 

Date

 

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This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02389 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

